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 1   ANTHONY P. CAPOZZI, CSBN 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. Shaw Avenue, Suite 102
     Fresno, CA 93711
 3   Telephone: (559) 221-0200
     Fax: (559) 221-7997
 4   E-mail: capozzilaw@aol.com
 5   Attorney for Defendant,
 6   KULWANT LASHER

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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                             EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                                   *****
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12
     UNITED STATES OF AMERICA,                       ) Case No.: 1:07-CR-264 AWI
13                                                   )
                    Plaintiff,                       ) STIPULATION TO CONTINUE STATUS
14          vs.                                      ) CONFERENCE AND ORDER THEREIN
15                                                   )
     KULWANT LASHER,                                 )
16                                                   )
17                                                   )
                    Defendant.
                                                     )
18
19
            IT IS HEREBY STIPULATED between the Defendant, KULWANT LASHER, by and
20
     through his attorney-of-record, Anthony P. Capozzi; TARLOCHAN LASHER, by and through his
21
     attorney of record, Carl Faller; JASWINDER LASHER, by and through his attorney of record,
22
     Roger Nuttall, and Plaintiff, by and through Assistant United States Attorney, Karen Escobar, that
23
     the Status Conference now set for Monday, July 26, 2010 be continued to Monday, August 30, 2010
24
     at 9:00 a.m.
25
            It is further stipulated by the parties that any delay resulting from this continuance shall be
26
     excluded on the following basis:
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28                                                     1
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 1         a.       Title 18, United States Code, Section 3161(h)(7)(A) -- that the ends of justice served

 2                  by taking such action outweighs the best interest of the public and the defendant in

 3                  a speedy trial.

 4         b.       Title 18, United States Code, Section 3161(h)(7)(B)(ii) -- that it is unreasonable to

 5                  expect adequate preparation for pre-trial proceedings or for the trial itself with the time

 6                  limits established due to the complexity of the case.

 7                                                        Respectfully submitted,
 8   Dated: July 22, 2010
 9                                                                   /s/ Anthony P. Capozzi
                                                          Anthony P. Capozzi,
10                                                        Attorney for Defendant,
                                                          SANDEEP SINGH
11
12
     Dated: July 22, 2010
13
                                                                      /s/ Carl Faller
14                                                        Carl Faller,
                                                          Attorney for Defendant,
15
                                                          TARLOCHAN LASHER
16
     Dated: July 22, 2010
17                                                                       /s/ Roger Nuttall
18                                                        Roger Nuttall,
                                                          Attorney for Defendant,
19                                                        JASWINDER LASHER
20   Dated: July 23, 2010
21
                                                                    /s/ Karen Escobar
22                                                        Karen Escobar,
23                                                        Assistant U.S. Attorney

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              Case 1:07-cr-00264-AWI Document 135 Filed 07/23/10 Page 3 of 3


 1
                                                 ORDER
 2
           IT IS SO ORDERED. Good cause having been shown, the Status Conference set for
 3
     Monday, July 26, 2010 is vacated and continued to Monday, August 30, 2010 at 9:00 a.m.
 4
     Additionally, time shall be excluded by stipulation from the parties and pursuant to 18 U.S.C. §§
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     3161(h)(7)(A) and 3161(h)(7)(B)(ii).
 6
 7
 8   IT IS SO ORDERED.

 9
     Dated:          July 23, 2010
10   0m8i78                                     CHIEF UNITED STATES DISTRICT JUDGE

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